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                      UNITED STATE DISTRICT COURT
                           DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT NORTH-
WEST, HAWAII, ALASKA, INDIANA, KEN-                Case No. 1:23-cv-00142-BLW
TUCKY, on behalf of itself, its staff, physi-
cians and patients, CAITLIN GUSTAFSON,             OPPOSITION TO MOTION
M.D., on behalf of herself and her patients,       FOR LEAVE TO FILE AMI-
and DARIN L. WEYHRICH, M.D., on behalf             CUS CURIAE BRIEF
of himself and his patients,
                Plaintiffs,

v.
RAÚL LABRADOR, in his capacity as the At-
torney General of the State of Idaho; MEM-
BERS OF THE IDAHO STATE BOARD OF
MEDICINE and IDAHO STATE BOARD OF
NURSING, in their official capacities,
COUNTY PROSECUTING ATTORNEYS, in
their official capacities,
                Defendants.




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      One business day before the dispositive motion hearing in this matter, and

after all briefing is complete, St. Luke’s Health System, Ltd., has moved for leave to

submit an additional 20-page brief against Defendants in this matter and to present

oral argument at the hearing. As St. Luke’s counsel explained to the Attorney Gen-

eral, its brief is not intended to focus on the legal arguments, but on the effects of the

withdrawn Crane Letter on Idaho physicians and patients, based on the personal

experience of St. Luke’s physicians. The Court should deny the request.

      While amicus briefs are common in the court of appeals, they are much more

rare in the district court. “Leave to file an amicus brief should be denied unless a

party is not represented competently or at all, a decision in the present case may

affect the interest of the amicus in another case in which he has an interest, or the

amicus has unique information or perspective that can help the court beyond the help

that the lawyers for the parties are able to provide.” Greater Yellowstone Coalition v.

Timchak, No. CV-08-388-E-MHW, 2008 WL 4911410, at *6 (D. Idaho Nov. 13, 2008)

(internal quotation marks and citations omitted). And so as this Court has held, dis-

trict courts “typically allow amicus briefs only when they are both timely and useful.”

State of Idaho v. Coeur d’Alene Tribe, No. 2:14-cv-00170-BLW, 2014 WL 2218329, at

*1 (D. Idaho May 29, 2014) (Winmill, J.). This one is neither.

      The proposed amicus brief is not timely. The first notice St. Luke’s gave the

Attorney General of its 20-page brief was today, just hours before it filed the brief.

To alleviate some of the prejudice from this late filing, the Attorney General re-

quested that St. Luke’s provide an advance copy of the brief to review. St. Luke’s



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declined. So the first the Attorney General saw the brief was when it was filed with

the Court—immediately after the Attorney General had filed the last brief in the cy-

cle, and just one business day before the hearing. At so late a date, it is impossible

for the Attorney General to file a meaningful response to the brief, much less for the

Court to consider any response in connection with the hearing. The Attorney General

will have little meaningful opportunity to defend against a brief—and argument

thereon—filed at so late a date.

      In any event, the proposed amicus brief is not helpful either. Most fundamen-

tally, the amicus brief cannot create an Article III controversy that does not exist.

The Attorney General did not send the Crane Letter to physicians and cannot bring

his own prosecutions under Idaho Code § 18-622. He has never said otherwise, and

he has withdrawn the Crane Letter and deemed it void. The Attorney General has

no opinion on these questions and is not defending any opinion on these questions.

So the fact that physicians at St. Luke’s may have subjectively felt otherwise has no

bearing on the objective existence of a controversy. There is none here.

      Even on its own terms, the proposed brief is not helpful. Attempting to fulfill

the “unique information” goal of amicus briefs, see Timchak, 2008 WL 4911410, at *6,

St. Luke’s proposed brief addresses purported harm to doctors and patients. But that

is not a unique perspective because it is the very same perspective that Plaintiffs

bring. Moreover, the arguments St. Luke’s makes are focused predominantly on

Idaho Code § 18-622 itself and not on the interpretation of that law set out in the




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Crane Letter. As St. Luke’s summarizes its position as stating that while “the impe-

tus behind the legislation at issue may be to protect the welfare of Idahoans, physi-

cians in Idaho have grave concerns about the real-world implications of these

changes.” Amicus Br. at 18. 1 Whatever the merits of those physicians’ concerns, they

are a mismatch for this case, because Plaintiffs do not allege that section 622, as

written, prohibits their conduct—in fact, they allege the opposite. Dkt. 1 ¶ 40; Dkt.

2-1 at 4–5. And, in any event, notwithstanding St. Luke’s concerns about the law,

the Idaho Supreme Court has already upheld section 622 against a state constitu-

tional challenge. Planned Parenthood Great Nw. v. State, 171 Idaho 374, 522 P.3d

1132 (2023).

      The proposed amicus brief is even less helpful when one considers the sub-

stance of its claims of harm to the speech of Idaho doctors. Apart from the fact that

those claims cannot support an injury to the Plaintiffs here, to the extent they are

relevant at all, the Attorney General has no opportunity to question or cross-exami-

nate out-of-court statements proffered in support of a showing of irreparable harm.


1 See also, e.g., Amicus Br. at 3 (“Although Idaho’s leaders defend Idaho Code § 18-
622 as necessary to protect the health of unborn children, the physicians represented
in this brief write to stress that the reality is something far different.”); id. (“Idaho’s
abortion law has already created serious uncertainty among Idaho’s physicians as to
what kind of care they are legally able to provide.”); id. (stating that recent legislative
change “does nothing to alleviate the deep uncertainty as to what circumstances ac-
tually qualify for this exception.”); id. at 9 (“Idaho’s stringent ban on abortions, and
the lack of clarity surrounding when termination of a pregnancy is permissible to
save the life of the mother, itself creates grave uncertainty for physicians attempting
to provide the gold standard of medical care when it matters most.”); id. at 11 (“Even
before § 18-622 took effect, medical providers in Idaho were stretched thin.”); id. at
12 (“Indeed, the new law is even affecting residents in other related programs.”).


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Not only that, but even where those statements of harm are sourced, many of them

concern comments that physicians made before the Crane Letter was even written.

E.g., Amicus Br. at 12–14 (citing Dr. McChane and Dr. Chisausky’s comments in Feb-

ruary 14 story from NPR affiliate KUOW); id. at 14 (citing Dr. Cooper’s February 9,

2023 statements in The Spokesman-Review); id. at 14 (citing Dr. Huntsberger’s state-

ments in March 17 article in the Idaho Capitol Sun); id. at 15–16 (citing Dr. Owen’s

statements in March 19 Bonner County Daily Bee article). Such statements have no

bearing whatsoever on harm that Plaintiffs say was caused by that letter.

      The proposed amicus brief also contains page upon page of unsourced state-

ments of physicians’ purported harm from the Crane Letter, which are even more

problematic. See Amicus Br. at 5–10 (“Idaho’s abortion law has already created seri-

ous uncertainty among Idaho’s physicians as to what kind of care they are legally

able to provide.”); id. at 13 (“Although ‘medically, the decision is obvious’—the physi-

cian should ‘act now’—they noted that ‘legally, the decision becomes ambiguous’ in

light of Idaho’s Total Abortion Ban.”); id. at 20 (“Dr. Amelia Huntsberger, an OB-

GYN at another hospital, similarly announced [before the Crane Letter] that she

would leave the state due to the abortion laws.”). Those statements are irrelevant to

Plaintiffs’ standing to sue and they are hearsay within hearsay within hearsay. The

fact that St. Luke’s states in a footnote that “[t]hese stories come to amicus directly

from Idaho physicians” provides neither a guarantee of their reliability nor an oppor-

tunity for the Attorney General to cross-examine them in any way. Amicus Br. at 5

n.3. These unsourced statements are evidence that, if proffered by a party, could



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never be admitted. So they are no more helpful submitted under cover of an amicus

brief.

         What St. Luke’s really seems to want is to intervene—to take a position along-

side Plaintiffs in this district court proceeding and to seek the same relief. See Fed.

R. Civ. P. 24. Of course, a motion to intervene for the hearing on Monday would be

manifestly untimely, see id. 24(a), (b)(1), and St. Luke’s interests are amply protected

by Plaintiffs, who make the same arguments for the same reasons. See id. 24(a)(2).

But intervention would also subject the assertions St. Luke’s makes in its briefing to

greater scrutiny. Had St. Luke’s intervened as a party and proffered these unauthen-

ticated and unsworn allegations of harm to others, its case would be nil. So it should

not be permitted to use the back door of an amicus brief to bring in evidence that

would be rejected at the front. Inadmissible evidence of purported harm to non-par-

ties is unhelpful to the Court, and oral argument about it much less so.

         The Court should deny St. Luke’s request for leave to submit an amicus brief

and for time at argument.

         DATED: April 21, 2023.

                                         STATE OF IDAHO
                                         OFFICE OF THE ATTORNEY GENERAL


                                      By:   /s/ Lincoln Davis Wilson
                                             LINCOLN DAVIS WILSON
                                             Chief, Civil Litigation and
                                             Constitutional Defense
                                             BRIAN V. CHURCH
                                             TIMOTHY LONGFIELD
                                             Deputy Attorneys General



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                                         Attorneys for Defendants Attorney General
                                         Raúl Labrador and Certain County Prosecut-
                                         ing Attorneys 2

                           CERTIFICATE OF SERVICE

       I hereby certify that on April 21, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to all counsel of record who have appeared in this matter.


                                              /s/ Lincoln Davis Wilson
                                              LINCOLN DAVIS WILSON
                                              Chief, Civil Litigation and Constitu-
                                              tional Defense




2Jan Bennetts, Ada County Prosecutor; Chris Boyd, Adams County Prosecutor; Alex
Gross, Boise County Prosecutor; Andrakay Pluid, Boundary County Prosecutor; Jim
Thomas, Camas County Prosecutor; McCord Larsen, Cassia County Prosecutor; Tre-
vor Misseldine, Gooding County Prosecutor; Mark Taylor, Jefferson County Prosecu-
tor; Rob Wood, Madison County Prosecutor; Lance Stevenson, Minidoka County Pros-
ecutor; Cody Brower, Oneida County Prosecutor; Benjamin Allen, Shoshone County
Prosecutor; Grant Loebs, Twin Falls County Prosecutor; and Brian Naugle, Valley
County Prosecutor.


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